Case 14-60041 Document 1020 Filed in TXSB on 01/18/18 Page 1 of 6

UNITED STATES BANKRUPTCY COURT
SOUTHERN AND WESTERN DISTRICTS OF TEXAS

INRE:

CASE NO. 14-60041

Buccaneer Resourcesc LLC et a|.
Substantively Conso|idated (See NoteA )

(See Note A)

w'>WZW'?€O'!¢»O'JW>

DEBTOR CHAPTER 11
CHAPTER 11 POST-CONFIRMATION REPOR'I`
FOR THE QUARTER ENDING December 31, 2017
1. X Quarterly or Final (check one)

2. SUMMARY OF DISBURSEMENTS*:

 

A. Disbursements made by the Administrative Claims Disbursing Agent N/A (See Note C)
B. Disbursements made by the Liquidating Trust $ 53,928.40
$ 53,928.40

Total Disbursements

*ALL DISBURSEMENTS MADE BY THE REORGANIZED DEBTOR, UNDER THE PLAN OR OTHERWISE, MUST BE
ACCOUNTED FOR AND REPORTED HEREIN FOR THE PURPOSE OF CALCULATING THE QUARTERLY FEES.

3. Has the order confirming plan become final? Yes No -Yes I_____|No

4. Are Plan payments being made as required under the Plan? Yes No -Yes \:No

5. If "No", what Plan payments have not been made and why?
Please explain:

 

 

6. If plan payments have not yet begun, when will the first plan payment be made? (Date)

7. What date did the reorganized debtor or successor of the debtor under the plan assume the business or management of the property
treated under the plan? Nlarch 13, 2015 (See Note B)

8. Please describe any factors which may materially affect your ability to obtain a final decree at this time.

 

 

9. Complete the form for Plan Disbursements attached.

 

10. CONSUMMATION OF PLAN:

 

 

 

 

A. If this is a final report, has an application for Final Decree been submitted*? INITIALS
|:l Yes Date when application was submitted DATE
|: No Date when application will be submitted UST USE ONLY

"‘(if required by l,ocal Rulc)
B. Estimated Date of Final Payment Under Plan TBD

 

I CERTIFY UNDER PENALTY OF PERJURY 'I`HAT THE ABOVE INFORMATION IS TRUE AND CORRECT TO THE
o

 

BEST OF MY KNOWLEDGE.
SIGNED: /\/K ,)t)/h DATE; l ( q 15
leff Compton

 

as Liquidating Trustee

(See Attached Notes)

Case 14-60041 Document 1020 Filed in TXSB on 01/18/18 Page 2 of 6

CHAPTER 11 POST-CONF|RMAT|ON REPORT
FORTHE QUARTER ENDING December 31, 2017

lN RE:
Buccaneer Resources, LLC et a|. CASE NO. 14-60041
DEBTOR

NOTES:

Note A: Under the Plan, the following Debtors have been substantively consolidated, including for purposes of distributions:

 

l Case No. | Entity l
14-60041 Buccaneer Resources, LLC
14-60042 Buccaneer Energy Limited
14-60043 Buccaneer Energy Holdings, |nc.
14-60044 Buccaneer Alaska Operations, LLC
14-60045 Buccaneer Alaska, LLC
14-60046 Kenai Land Ventures, LLC
14-60047 Buccaneer Alaska Dril|ing, LLC
14-60048 Buccaneer Royalties, LLC
14-60049 Kenai Dril|ing, LLC

Note B: The Plan became effective, and the Liquidating Trust Was funded l\/|arch 13, 2015.

Note C: Pursuant to Court Order entered October 18, 2016, the Disbursing Agent of the Administrative Claims account transferred the balance
remaining in the Administrative Claims account to Porter Hedges, LP, counsel for AlX to be held in trust for the benefit of AlX, pending further
order of the Court. [See Docket 1000] A final report on behalf of the Disbursing Agent of the Administrative Claims account was filed in

02 2017.

 

Case 14-60041 Document 1020 Filed in TXSB on 01/18/18 Page 3 of 6

IN RE: BUCCANEER RESOURCES LLC et al. CASE NO' 14_60041
PER LIQUIDATING TRUST

 

CAsH RECEH>TS AND DlsBuRsEMENTs CURRENT CONFHI‘)]::§ION TO

CASH~BEGINN]NG OF
R.ECEIPTS

NET PAYROLL

PAYROLL TAXES PAlD
SECURED/RENTAL/LEASES
UTILITIES

INSURANCE

lNVENTORY

VEHICLE EXPENSES

TRAVEL & ENTERTAINMENT

R.EP MA]NTENANCF. & SU'PPLIES

ADMINISTRATIVE & SELLING

O'I`HER attach

PLAN PAYI\/[ENTS 3

TOTAL DISBURSEMENTS (this figure should equal Tota.l disbursements,
of Disbursements

NET CASH FLOW

CASH-END OF

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

, (See Nole 1)
CASH ACCOUNT RECONCILlA'I'ION FOR ALL FUN'DS QUARTER EN'DING DECEMBER 31, 2017
Month/Year Montleear Month/Year Total
10/2017 11/2017 12/2017
Liquidating quuidating Liquidating
Trust Trust Trust
Te)<as Capita| Bank Texas Capital Bank Texas Capital Bank

xxxx)<)<6217 xx)<x)<x6217 xxxxxx6217
Bank Balance $ 28,134.34 $ 14,415.84 $ 100,736.39 $ 100,736.39
Deposit in Transit $ - $ ' $ ~ $ '
Outstandin¢' Checks $ (2,573.89) $ (2,838.39) $ (2,573.89) $ (2,573.89)
Adiusted Bala.\'lce $ 25,560.45 $ 11,577.45 $ 98,162.50 $ 98,162.50
Be"innin Cash-Per Books $ 52,090.90 $ 25,560.45 $ 11,577.45 $ 52,090.90
Receipts $ ' $ ~ $ - $ ~
Transfers Between Accounts $ 100,000.00 $ 100,000.00
Checks/Other Disbursements $ (26,530.45) $ (13,983.00) $ (13,414.95) $ (53,928.40)
E\'ldina Cash-Per Books $ 25,560.45 $ 11,577.45 $ 98,162.50 $ 98,162.50 (See Note 1)

 

 

STATEMENT OF CASH RECEIP'I`S AND DISBURSEMENTS
Month/Yenr Month/Y ear Month/\’ear
10/2017 11/2017 12/2017
Liquidating Liquidating Liquidating
Trust Trust Trust
Texas Capital Bank Texas Capital Bank Texas Capital Bank

    

x>o<)<xx6217 )<xx)<xx6217 xxx)<x)<6217
Cash ' 45 .45
Total Transfers -
Total Disbursements Transfers
Cash .45

Note 1: The quuidating Trust also holds the following investment account:

Ma rket Value

|nvestment Accou nt on 12[31{2017
|VlL Account # XXX~XX481 $ 802,272.53 {Ho/ds investments in a US Treasury Fund)
$ 802,272.53

ML investment account XXX-XX254 was funded with cash transfers from Te)<as Capital Bank Account xx6217. On September 23, 2016, $Z,740,330.85
was transferred from i\/|L investment account XXX-XX254 to iVlL investment account XXX~XX481.

Schedu|e of Cash Transfers in/(out) of lnvestment Accounts:
Q.'l 2015 $ 9,750,000.00

04 2015 $ (200,000.00)
02 2016 $ 2,675,000.00 includes $275k directly into the investment account
03 2016 $ (eoo,ooo.oo)
Ql 2017 $ (3,020,000.00)
as 2017 $ (7,739,048.24)
04 2017 $ (100,000.00)
$ 765,951.76

Cash transferred from Texas Ca pital Bank account xx6217 to the investment accounts is used to purchase investments held by the Liquidating Trust and is not considered
a disbursement out ofthe Liquidating Trust. |n addition, after investments are purchased the funds are no longer considered cash, but Liquidating Trust owned investments.

We are reporting the cash activity, exclusive afinvestmentearnings, in the tables above_ The amount of cash and cash equivalents totals $90@435.03.

Case 14-60041 Document 1020 Filed in TXSB on 01/18/18 Page 4 of 6

IN RE:
Buccaneer Resources. LLC et al.

CASE NO. ]4-60041 §Jointly Administered[

W>W>¢O'JWJ

DEBTOR '

PAYMENTS TO CREDITORS UNDER THE PLAN
BY THE LIQUIDATING TRUST

CURRENT CONFIRMATION
UARTER TO DATE

Advance Unsecured
AFLAC Unsecured
A|l\/ll\/l T lnc. Unsecured
Air ide America LP Unsecured
Ai USA LLC Unsecured
Rental |nc. Unsecured
A|an Stein Admin
Alaska's Best Water Unsecured
Alaska Communications Unsecured
Alaska industrial Ha " Unsecured
Alaska Rubber and . Unsecured
Alaska Waste Unsecured
Sales & Service Unsecured
Standards . Unsecured 7 77
Archer Dri| LLC Unsecured 795.17
Archer & Unsecured 13
Arctic Wire and Unsecured 546.57
ASRC Unsecured 4 650.64
AT&T M ' Unsecured 131.52
| Unsecured .06
Bal<er Botts LLP Admin 513 779.04
Baker Botts LLP Dist Unsecured 1 7.36
LLC Unsecured 655.91
Benefits LLC Unsecured 78.75
Scott P. Unsecured 463.05
Best Western Bidarka inn Unsecured .91
Services Ltd Unsecured 192.88
lnc. Unsecured 622.14
Brice LLC - 003 Unsecured 10 .37
Bud Griffm Customer Unsecured 116.79
CAD Control Unsecured 4 459
Canaccord Australia Limited Unsecured 60 .83
T Ltd. Unsecured 27
l Partners LLP Unsecured
Clarion Events LTD Unsecured
Coffman Unsecured
Commercial & lnc Unsecured
Com of Public Accounts
Com re Services Ltd Unsecured
Conam Construction Unsecured
Co Unsecured
Cool< inlet LLC Unsecured
Cook |n|et l Citizens Cou Unsecured
Crowe|| & i\/lori LLP Unsecured
Darre| .l. Gardner and several co-c Unsecured
David Fulton Unsecured
Dish Network LLC Unsecured
David J. Unsecured
Edison |VchoweIl & Unsecured

 

Case 14-60041 Document 1020 Filed in TXSB on 01/18/18 Page 5 of 6

Edward Ramirez

Services |nternational
ERA LLC

n Farouk

|nc.

Fire Control lnc.
Five Star Oilfleld Services
Forum |nc.
Frank‘s Crew and Rental T lnc
Gavin Wilson
Ga Dean
GE | 0 Barbi l\/lartin
General Communications |nc
GeoCenter LP

G
Gra Works
G T
Gulfstream G
Harris et al
Hartman lncome RElT
H and LLP

& Boone LLP

Alaska LLC
Hole
Homer Electric Association
Homer Services

Associates
|HS GLOBAL |NC.
l|iamna AirTaxi lnc.
industrial lnstrument inc
|nternal Revenue Service
international rbon Ventures LLC
lames S. Watt
leffries Credit Products sfrf
Jl\/|R Advisors
llle Worldwide
Kenai Offshore Ventu LLC
Konica l\/linolta Business Solutions USA lnc
Konica lV|ino|ta Premier Finance
Consultants ln Alaska
Communications
Loomis Richard R.
NlacG lnc.
Tec Alaska LLC

kers Alaska
N|aritime |nc.
I\/lar|in Business Bank
l\/|etson B|ue Water
l\/l-I LLC
N|o|ler Brian
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n Steel lnc
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CURRENT CONFIRMATION
ARTER TO DATE

54
26.04
5,951.50
672.99
.78
65.02
169.32
415.34
1.48

7 120.18

3 10.66

497.08

122.19

148.18

78.02

124 .OO

397.87

5 192.02

106 .37

227 775.71

7 429.83

29 613.96

3 1.96

5 .45
832.2

62.4

243

13 120.1
55

 

Case 14-60041 Document 1020 Filed in TXSB on 01/18/18 Page 6 of 6

CURRENT CONFIRMATION
UARTER TO DATE

Odin LLC Unsecured 34 .83
Billi Services Ltd Unsecured 216.68
Pacitic Pile & L.P. Unsecured 5 188.67
Pason Offshore Unsecured .62
Patrick O'Connor Admin 322.47
Pau| LLP Unsecured 25 9.44
PCNET Comm Unsecured 46
Peninsula Pu . Unsecured 183.39
Petroleum lnc. Unsecured 16 148.87
Petroleum & |nc. Unsecured 3 .41
Phoenix & Personnel |nc Unsecured 7 .12
Bowes Unsecu red 267.79
PJK T Unsecured
Pollard E-Line . Unsecured 3 4.14
Port Graham Unsecured 3
Global Unsecured 5 137
ProStar lnc. Unsecured 75.26
Rain for Rent Alaska Unsecured 9 414.39
E. Davis . Unsecured 718.62
Services LLC Unsecured 14 1.82
ScoNet lnt. Unsecured 610.62
Seismic Excha lnc. Unsecured 13 470.89
Sheek Offshore Services Unsecured .13
SLP Alaska Unsecured 205.38
SolstenXP lnc. Unsecured 920.63
& Sierra Unsecured 79.46
Branch lSD 770.79
Starichkof ' Unsecured 390.49
State of Alaska ~ of Environme Unsecured 9 9.16
State of Alaska - of Environmenta| C Unsecured 388.51
State of Division of 72.
Stellar Oil & LLC Unsecured
Steven l\/l. W P.C. and several Unsecured
Resources LLC Unsecured
Teras Oilt`leld Limited Unsecured
Terrasond Precision So|utions Unsecured
T lnc. ' Unsecured
Tesoro Unsecured
Time Warner Cable Unsecured
Tota| Ofi`lce Products Unsecured
Tota| US lnc. Unsecured
United Rentals North America |nc. Unsecured
U.S. District Clerk Admin
Ve|ocis Echo LP Unsecured
Park Unsecured
Alaska LLC Unsecured
Warrior Limited Unsecured
Weatherford US LP Unsecured
Wex Bank Unsecured
William A||en H Unsecured
Wil|is of T lnc. Unsecured
Win LLC. Unsecu red
XTO lnc. Unsecured 23 460.7
Zentech l Unsecured 3 6.

TOTAL PLAN PAYMENTS: (report on page 2)

 

